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                                                                  United States District Court
                                                                    Southern District of Texas

                                                                       ENTERED
                  IN THE UNITED STATES DISTRICT COURT                  June 09, 2017
                   FOR THE SOUTHERN DISTRICT OF TEXAS               David J. Bradley, Clerk
                            HOUSTON DIVISION



LINDA KEITH,                          §
                                      §
                  Plaintiff,          §
                                      §
v.                                    §
                                      §       CIVIL ACTION NO. H-15-1030
METROPOLITAN LIFE INSURANCE           §
COMPANY, CENTRAL BANK, and            §
CENTRAL BANK WELFARE BENEFIT          §
PLAN,                                 §
                                      §
                 Defendants.          §




                               FINAL JUDGMENT



      In accordance with the court's Memorandum Opinion and Order

entered this date,     the court ORDERS and ADJUDGES that plaintiff

Linda Keith take nothing from Metropolitan Life Insurance Company,

Central Bank, or the Central Bank Welfare Plan.

     Costs are taxed against the plaintiff.

     This is a FINAL JUDGMENT.

     SIGNED at Houston, Texas, on this the 9th day of June, 2017.




                                            UNITED           DISTRICT JUDGE
